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     ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024
                Nos. 24-1113, 24-1130, 24-1183
           _____________________________________________________

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
           _____________________________________________________

                  TIKTOK INC. AND BYTEDANCE LTD.,

                                               Petitioners,
                                     v.
  MERRICK B. GARLAND, in his official capacity as Attorney General of the
                          United States,
                                               Respondent.
           _____________________________________________________

               On Petitions for Review of Constitutionality of the
   Protecting Americans from Foreign Adversary Controlled Applications Act
           _____________________________________________________
  NOTICE OF INTENT OF FORMER CHAIRMAN OF THE FEDERAL
   COMMUNICATIONS COMMISSION AJIT V. PAI AND FORMER
  ASSISTANT SECRETARY OF THE TREASURY FOR INVESTMENT
 SECURITY THOMAS P. FEDDO TO FILE AN AMICUS CURIAE BRIEF
                IN SUPPORT OF RESPONDENT
           _____________________________________________________

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                                          Michael J. Showalter
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                     [caption continued on inside cover]
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          August 2, 2024                 Counsel for Amici Curiae
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                       BRIAN FIREBAUGH, et al.,

                                              Petitioners,
                                    v.

   MERRICK B. GARLAND, in his official capacity as Attorney General of
                       the United States,

                                              Respondent.
           _____________________________________________________

                           BASED Politics Inc.,

                                              Petitioner,
                                    v.

   MERRICK B. GARLAND, in his official capacity as Attorney General of
                       the United States,

                                              Respondent.
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                NOTICE OF INTENT TO FILE AMICUS BRIEF

      Pursuant to Fed. R. App. P. 29(a) and D.C. Circuit Rule 29(b), Amici Curiae

former Chairman of the Federal Communications Commission Ajit V. Pai and

former Assistant Secretary of the Treasury for Investment Security, who oversaw

the interagency Committee on Foreign Investment in the United States (“CFIUS”)

Thomas P. Feddo, represent that they intend to participate in this case as Amici

Curiae. Petitioners and Respondent have consented to the filing of this amicus

curiae brief.

      Amici Curiae are former high-ranking government officials who led federal

regulatory entities with responsibility for reviewing foreign corporate ownership

structures of companies operating within the United States. Overseeing these

programs made Amici Curiae acutely aware of the national security risks posed by

China’s corporate control of companies operating in the United States, including

TikTok and other companies in the communications ecosystem. Based on their

significant experience, Amici Curiae aim to highlight the legitimate public policy

goals furthered by the Protecting Americans from Foreign Adversary Controlled

Applications Act, Pub. L. No. 118-50, div. H, 138 Stat. 895, 955–60 (2024)

(“Divestiture Act”) under review in this Court. They provide context on similar

government programs rooted in the same goal: safeguarding American citizens.




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      Amici Curiae are filing this Notice “as promptly as practicable.” See D.C.

Circuit Rule 29(b).

      Amici Curiae intend to file their brief no later than August 2, 2024 in

accordance with D.C. Circuit Rule 29(c) and the Court’s June 18, 2024 Order.

      Amici Curiae certify that a separate amicus brief is necessary. See D.C.

Circuit Rule 29(d). The forthcoming Brief of Amici Curiae provides the unique

perspective of former high-ranking government officials on the significance of and

legitimate policy goals behind the law under review.



August 2, 2024                                    /s/ Thomas M. Johnson, Jr.
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                                                  Counsel for Amici Curiae




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                         CERTIFICATE OF SERVICE

      I certify that on August 2, 2024, a true and correct copy of this Notice of Intent

was filed and served electronically upon counsel of record registered with the

Court’s CM/ECF system.

                                        /s/ Thomas M. Johnson, Jr.
                                        Thomas M. Johnson, Jr.
